           Case 1:15-cv-00210-EJL Document 85 Filed 03/07/19 Page 1 of 5




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 8   Raymond Otto, M.D.

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11
                                 UNITED STATES DISTRICT COURT
12                                FOR THE DISTRICT OF IDAHO

13

14   UNITED STATES OF AMERICA ex rel.               )
     JULIE MADSEN, M.D., an individual,             )
15                                                  )   Case No. 1:15-cv-00210-EJL
                                Relator/Plaintiff,  )
16                                                  )
            v.                                      )   DEFENDANTS WARREN GUDE AND
17                                                  )   RAYMOND OTTO’S REPLY IN
     ST. LUKE’S HEALTH SYSTEM, LTD, an              )   SUPPORT GOVERNMENT’S MOTION
18   Idaho corporation, IDAHO ELKS                  )   TO APPROVE SETTLEMENT AND
     REHABILITATION HOSPITAL, INC., an              )   DISMISS THE CASE [DKT. 80]
19   Idaho corporation, ELK’S WOUND CARE            )
     CENTER, an Idaho joint venture, CENTER FOR )
20   WOUND HEALING AND HYPERBARIC                   )
     MEDICINE, LLP, WARREN GUDE, M.D.,              )
21   RAYMOND OTTO, M.D., and John/Jane Does I )
     through X, whose true identities are presently )
22   unknown,                                       )
                                                    )
23                                    Defendants.   )
                                                    )
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     REPLY IN SUPPORT OF GOVERNMENT’S MOTION TO                               LANE POWELL PC
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           Case 1:15-cv-00210-EJL Document 85 Filed 03/07/19 Page 2 of 5




 1          Defendants Dr. Warren Gude and Dr. Raymond Otto ask the Court to grant the government’s

 2   motion (Dkt. 80) to approve the settlement and dismiss Relator Julie Madsen’s claims with

 3   prejudice. Dr. Gude and Dr. Otto join and incorporate by reference the arguments made in the

 4   government’s motion, as well as the arguments made by the St. Luke’s Defendants in their reply

 5   (Dkt. 83).

 6          The irony should not be lost on the Court that after trying four times to state a plausible claim

 7   for relief, Relator has the temerity to claim that the government has an inadequate basis to settle this

 8   dispute for four times the paltry potential damages the government contends it sustained. Even in her

 9   latest complaint Relator still fails to identify a single false claim or explain with sufficient

10   particularity what role, if any, Dr. Gude or Dr. Otto played in submitting, causing to be submitted, or

11   conspiring to submit any false claim.

12          There is no basis for allowing this lawsuit to continue or for granting Relator’s request for an

13   evidentiary hearing. Realtor has suffered no financial harm. The only conceivable damages were

14   sustained by the government, which has no incentive to minimize the recovery to which it contends

15   it is entitled or to terminate the action before fully and adequately vindicating its interests.

16          DATED:          March 7, 2019

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         Case 1:15-cv-00210-EJL Document 85 Filed 03/07/19 Page 3 of 5




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                                       Warren Gude, M.D. and
 2                                     Raymond Otto, M.D.

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           Case 1:15-cv-00210-EJL Document 85 Filed 03/07/19 Page 4 of 5




 1                                      CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on the 7th day of March, 2019, I filed the foregoing electronically

 3   through the CM/ECF system, which caused all counsel of record to be served by electronic means,

 4   as more fully reflected on the Notice of Electronic Filing.

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           Case 1:15-cv-00210-EJL Document 85 Filed 03/07/19 Page 5 of 5




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16          DATED: March 7th, 2019
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18                                       LANE POWELL PC

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20                                       By_/s/ Aaron P. Brecher____________

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